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                               UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
      Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
          Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                    Filed: September 14, 2022



   Ms. LeAnna Wilson
   Eastern District of Tennessee at Knoxville
   800 Market Street
   Suite 130 Howard H. Baker, Jr. U.S. Courthouse
   Knoxville, TN 37902-0000

                        Re: Case No. 21-5889/21-5907/21-6155, ACT, Inc. v. Worldwide Interactive Network, et al
                            Originating Case No. 3:18-cv-00186

   Dear Ms. Wilson:

     Enclosed is a copy of the mandate filed in this case.

                                                    Sincerely yours,

                                                    s/Patricia J. Elder, Senior Case Manager
                                                     for Virginia Padgett, Case Manager

   cc: Mr. A. Mattison Bogan
       Mr. William Kyle Carpenter
       Ms. Laura Lindsay Chapman
       Mr. Matthew G. Halgren
       Mr. James Chadwick Hatmaker
       Mr. John G. Jackson
       Mr. Lorin Lapidus
       Mr. Hugh J. Moore Jr.
       Ms. Yasamin Parsafar

   Enclosure




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                                UNITED STATES COURT OF APPEALS
                                     FOR THE SIXTH CIRCUIT

                                               ________________

                                                  No: 21-5889/21-5907/21-6155
                                               ________________

                                                                         Filed: September 14, 2022

   ACT, INC.

                   Plaintiff - Appellee

   v.

   WORLDWIDE INTERACTIVE NETWORK, INC.; TERESA CHASTEEN

                   Defendants - Appellants



                                                MANDATE

        Pursuant to the court's disposition that was filed 08/23/2022 the mandate for this case hereby

   issues today.



   COSTS: None




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